                                                               United States Bankruptcy Court
                                                               Western District of New York
In re:                                                                                                                 Case No. 20-10322-CLB
The Diocese of Buffalo, N.Y.                                                                                           Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0209-1                                                  User: admin                                                                 Page 1 of 26
Date Rcvd: Sep 27, 2023                                               Form ID: pdforder                                                          Total Noticed: 6
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 29, 2023:
Recip ID                   Recipient Name and Address
db                     +   The Diocese of Buffalo, N.Y., 795 Main Street, Buffalo, NY 14203-1215
aty                    +   Gleichenhaus, Marchese & Weishaar, PC, 43 Court Street, Suite 930, Buffalo, NY 14202-3100
op                     +   Blank Rome, LLP, 1825 Eye Street NW, Washington, DC 20006-5403
pr                     +   Charles Mendolera, c/o The Diocese of Buffalo, N.Y., 795 Main Street, Buffalo, NY 14203-1215
ntcapr                 +   Official Committee of Unsecured Creditors, c/o Pachulski Stang Ziehl & Jones LLP, Attn: J. Stang, I. Scharf, S. Golden, 780 Third
                           Avenue, 34th Floor, New York, NY 10017-2024

TOTAL: 5

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
smg                    + Email/Text: ustpregion02.bu.ecf@usdoj.gov
                                                                                        Sep 27 2023 18:27:00      Office of the U.S. Trustee, 300 Pearl Street, Suite
                                                                                                                  401, Olympic Towers, Buffalo, NY 14202-2523

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 29, 2023                                            Signature:           /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 27, 2023 at the address(es) listed
below:
Name                               Email Address
Adam Ross Durst
                                   on behalf of Defendant Employers Insurance Company of Wausau (f/k/a Employers Insurance of Wausau A Mutual Company
                                   f/k/a Employers Mutual Liability Insurance Company of Wisconsin) adurst@goldbergsegalla.com




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Adam Ross Durst
                          on behalf of Notice of Appearance Creditor Employers Insurance Company of Wausau (formerly known as Employers Insurance
                          of Wausau A Mutual Company formerly known as Employers Mutual Liability Insurance Company of Wisconsin)
                          adurst@goldbergsegalla.com

Adam Ross Durst
                          on behalf of Defendant Nationwide Insurance Company of America adurst@goldbergsegalla.com

Adam Ross Durst
                          on behalf of Notice of Appearance Creditor Wausau Underwriters Insurance Company adurst@goldbergsegalla.com

Adam Ross Durst
                          on behalf of Cross Defendant Wausau Underwriters Insurance Company adurst@goldbergsegalla.com

Adam Ross Durst
                          on behalf of Defendant Employers Insurance Company of Wausau (formally known as Employers Insurance of Wausau A Mutual
                          Company formerly known as Employers Mutual Liability Insurance Company of Wisconsin) adurst@goldbergsegalla.com

Adam Ross Durst
                          on behalf of Defendant Wausau Underwriters Insurance Company adurst@goldbergsegalla.com

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Andrew Janet
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Brian Jacob Butler



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Harry Lee
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J. Michael Hayes



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Jeffrey L. Kingsley
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                              Company and Hartford Fire Insurance Company) jmaloney@lawgmm.com

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Date Rcvd: Sep 27, 2023                                     Form ID: pdforder                                                        Total Noticed: 6
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Date Rcvd: Sep 27, 2023                                     Form ID: pdforder                                                        Total Noticed: 6
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District/off: 0209-1                                        User: admin                                                              Page 19 of 26
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Date Rcvd: Sep 27, 2023                                     Form ID: pdforder                                                       Total Noticed: 6
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Timothy Patrick Lyster
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Timothy Patrick Lyster
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Timothy Patrick Lyster
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Timothy Patrick Lyster
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Timothy Patrick Lyster
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Timothy Patrick Lyster
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                          Batavia, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

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Timothy Patrick Lyster
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Timothy Patrick Lyster
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                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
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Timothy Patrick Lyster
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                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Queen of Martyrs Roman Catholic Church Society of Cheektowaga New York tlyster@woodsoviatt.com,
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William Carson
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William Carson
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William Corbett, Jr
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William Corbett, Jr
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William Henry Gordon
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William Henry Gordon
                          on behalf of Creditor Carolyn Anderson wgordon@garabedianlaw.com


TOTAL: 572




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